940 F.2d 1539w
    Unpublished DispositionNOTICE: Tenth Circuit Rule 36.3 states that unpublished opinions and orders and judgments have no precedential value and shall not be cited except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.RESOLUTION TRUST CORPORATION, in its capacity as Conservatorfor Savers Savings Association, Plaintiff-Appellee,v.MUSTANG PARTNERS, a Missouri Limited Partnership, Defendant-Appellant,v.RESOLUTION TRUST CORPORATION, in its capacity as Receiverfor Savers Federal Savings and Loan Association,Third-party-defendant-Appellee.
    No. 90-6276.
    United States Court of Appeals, Tenth Circuit.
    Aug. 6, 1991.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    